Case 3:17-cv-01253-NJR-GCS Document 1 Filed 11/17/17 Page 1 of 4 Page ID #1




                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF ILLINOIS
                                  BENTON DIVISION

 STEPHANIE E. WILLIAMS, SHAWN R.              )
 WILLIAMS, and VERA C. WILLIAMS               )
                                              )
          Plaintiffs,                         )                   3:17-cv-1253
                                                       Cause No. _____________
                                              )
    v.                                        )
                                              )
 MISHIDA JUNICHI and TOYOTA                   )
 BOSHOKU AMERICA, INC.,                       )
                                              )
          Defendants.                         )
                                              )

               NOTICE OF REMOVAL AND DEMAND FOR JURY TRIAL

         PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1441 and 1446, Defendants,

Junichi Hishida (improperly named Mishida Junichi) (“Hishida”) and Toyota Boshoku

America, Inc. (“TBA”), by and through their attorneys, HEPLERBROOM, LLC, remove to

this Court the above entitled case from the Circuit Court of Lawrence County, Illinois and

state as follows:

         1.     The removed case is a civil action filed on October 5, 2017, in the Circuit

Court of the County of Lawrence, Illinois, bearing case number 2017-L-11 in the records

and files of that court.

         2.     As required by 28 U.S.C. § 1446(a), attached as Exhibits A and B are copies

of the summons and complaint served upon Hishida. Copies of the summons and




                                              1
Case 3:17-cv-01253-NJR-GCS Document 1 Filed 11/17/17 Page 2 of 4 Page ID #2




complaint served upon TBA are attached as Exhibits C and D.

       3.      Venue of this removed action is proper under 28 U.S.C. § 1441(a), because

this Court is the United States District Court for the district and division corresponding

to the place where the state court action was pending.

       4.      Plaintiffs, Stephanie E. Williams, Shawn R. Williams, and Vera C. Williams,

are citizens of the State of Illinois.

       5.       Defendant Hishida is a citizen of the State of Indiana. He was served with

the summons and complaint on October 20, 2017.

       6.      Defendant TBA is incorporated under the laws of Michigan, and its

principal place of business is located in Kentucky. It was served with an expired

summons and with the complaint on November 7, 2017. Even though TBA was not

properly served, it consents to this removal.

       7.      This Notice of Removal is filed by Defendants with this Court within 30

days of receipt by Hishida and TBA through service of the initial pleading as required by

28 U.S.C. § 1446(b).

       8.      There is in excess of $75,000.00 in controversy in this matter.

       9.      Although Plaintiffs’ Complaint only prays for damages in an amount in

excess of $50,000.00, pursuant to Illinois law pleading requirements, there is in excess of

$75,000.00 in issue. Each of the Plaintiffs allege that they were injured as a result of a

motor vehicle accident. They each allege, at least in one of the counts brought by each of



                                              2
Case 3:17-cv-01253-NJR-GCS Document 1 Filed 11/17/17 Page 3 of 4 Page ID #3




them, that they were “hospitalized, required emergency treatment,” were injured about

their bodies and heads, and were “unable to work.” Ex. A, p. 3, 5, 8, 10, 12. And, they

further allege that they “incurred pain and suffering in the past, present[,] and future[;]

suffered emotional trauma[;] continue[] to suffer emotional traumas and will suffer

emotional traumas in the future[;] … [were] forced to incur hospital and medical bills for

[their] treatment and will have medical bills in the future; and missed work resulting in

monetary loss[] and will continue to incur monetary loss in the future.” Ex. A, p. 3, 5, 8-

10, 12. Additionally, in Count III, Shawn R. Williams specifies that he “sustained injuries

to his left knees[;] suffered cuts, bruises[,] and abrasions to his body[;] exacerbated an

existing pancreatic condition[;] … [and] became liable for medical treatment, ambulance

service, including helicopter, and continues to be liable for medical treatment and bills

and future medical treatment and bills …” Ex. A, p. 6-7.

       10.    Accordingly, the amount in controversy for Plaintiffs’ claims are in excess

of $75,000.00, exclusive of interests and costs.

       11.    Defendants remove this case pursuant to 28 U.S.C. §§ 1332, 1441, and 1446

due to diversity of citizenship among the parties and sufficient amount in controversy.

       12.    Defendants will promptly serve written notice of the removal of this action

upon Plaintiffs and will file such notice with the Clerk of the Circuit Court for Lawrence

County, Illinois, as required by 28 U.S.C. § 1446(d).

       13.    Defendants demand a trial by jury of all issues to be tried.



                                              3
Case 3:17-cv-01253-NJR-GCS Document 1 Filed 11/17/17 Page 4 of 4 Page ID #4




       WHEREFORE, Defendants respectfully give notice that the above-entitled cause

is removed from the Circuit Court of Lawrence County, Illinois, to the United States

District Court for the Southern District of Illinois.

                                    Respectfully submitted,

                                    Junichi Hishida and Toyota Boshoku America, Inc.,
                                    Defendants

                                    By: /s/ Stephen R. Kaufmann
                                            One of their attorneys

                                    Stephen R. Kaufmann, #3126728 – Lead Counsel
                                    HEPLERBROOM, LLC
                                    4340 Acer Grove Drive
                                    Springfield, IL 62711
                                    (217) 528-3674 (telephone)
                                    (217) 528-3964 (facsimile)
                                    E-mail: srk@heplerbroom.com


                               CERTIFICATE OF SERVICE


        I hereby certify that on November 17, 2017, the foregoing was filed electronically
with the Clerk of the Court using the CM/ECF system which will send notification of such
filing to the following:

Stephen J. Hough
110 S. Whittle
Olney, IL 62450
(618) 395-6181
SteveHoughLaw@gmail.com
Attorney for Plaintiff



                                                         /s/ Stephen R. Kaufmann




                                              4
